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                        United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-7129                                                      September Term, 2023
                                                                            1:21-cv-02158-APM
                                                                            1:21-cv-02908-APM
                                                          Filed On: September 7, 2023 [2015719]
Oyoma Asinor and Bryan Dozier,
                   Appellants
         v.
District of Columbia, et al.,
                   Appellees

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Consolidated with 22-7130

                                               ORDER

       It is ORDERED, on the court's own motion, that the following times are allotted for
the oral argument of these cases scheduled for September 21, 2023, at 9:30 A.M.:
                           Appellants                 -               15 Minutes
                           Appellees                  -               15 Minutes
        One counsel per side to argue. The panel considering these cases will consist of
Circuit Judges Henderson and Katsas, and Senior Circuit Judge Edwards.
       Form 72, which may be accessed through the link on this order, must be completed
and returned to the Clerk's Office by September 11, 2023.


                                              Per Curiam

                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk
                                                      BY:      /s/
                                                               Michael C. McGrail
                                                               Deputy Clerk
The following forms and notices are available on the Court's website:
         Notification to the Court from Attorney Intending to Present Argument (Form 72)
